(

(

SERB RRR RR RR RRR Re mm x

04/09/00 Cage: BO feC RRO WA abr oghgocument #eggO-1 Filed: 02/05/10 Page 1 of 7 @ovz

" mos

IN THE UNITED STATHS DISTRICT COURT

FOR THE WESTERN DISTRICT OF WISCORREY ¢ 4 UL
U.S. DISTRICT

(

: WEST DIST. OF WISCONSIN
NEIL GAIMAN and
MARVELS AND MIRACLES, LLC, : oct - 7 2002
Plaintifis, FILED
PREP HW SKE ME WiTe
v. CASE fo2-c-48-S

TODD MCFARLANE,
TODD MCFARLANE PRODUCTIONS, INC.,

TMP INTERNATIONAL, INC.,
MCFARLANE WORLDWIDE, INC., and

IMAGE COMICS, INC.,

Defendants.

1. Does plaintiff Neil Gaiman have a copyright interest in

the following? (answer yes or no to each)

Medieval Spawn: if.
Cogliostro: V7 S
Spawn issue 26: £5

2. Would a reasonable person in plaintiff Gaiman's position

have discovered prior to January 24, 1999, that the McFarlane

defendants were claiming to be sole owners of copyright interests

in the following? (answer yes or no to each)

Medieval Spawn: No
Cogliostro: No
Angela No

Angela issues 1,2 and 3 Na

Spawn issue 9
Spawn issue 26 Me 00233

04/09/09 THAI@: B7ORanv-doOOREr bigo® Documdis@#: 280-1 Filed: 02/05/10 Page 2 of 7

SS

3. Did the plaintiff and the McFarlane defendants enter into

a contract in 1992?

Answer:
(yes or no)

IF YOU ANSWERED QUESTION 3 “YES”
ANSWER QUESTION 4. OTHERWISE
PROCEED TO QUESTION 5.

4, Did the McFarlane defendants breach the 1992 contract?

Answer: Vr2

(yes or no)

(

5. Did the plaintiff and the McFarlane defendants enter into

a contract in 1997?

Answer: V, S$

(yes or no)

IF YOU ANSWERED QUESTION 5 *YES”
ANSWER QUESTION 6 AND PROCEED TO
QUESTION 12. OTHERWISE PROCEED TO

QUESTION 7.

C

00234

igj003
we = aw,
aa oe .._

~ IF YOU ANSWERED QUESTION 7

avoo/on fabS24 19 2RX-GOO4EPveos DocumemeéK 280-1 Filed: 02/05/10 Page 3 of 7

~—

6. Did the McFarlane defendants breach the 1997 contract?

Answer: ¥ S

(yes or no)

IF YOU ANSWERED QUESTION 6 PROCEED
TO QUESTION 12.

Did the McFarlane defendants make a promise to plaintiff

ld have expected would induce action or

T's

Gaiman which they shou

Forebearance by him?

Answer:

(yes or no)

u YES ir

ANSWER QUESTION 6&8. OTHERWISE

PROCEED TO QUESTION 10.

Did the promise by the McFarlane defe

laintiff Gaiman?

8.

action ox forbearance by p

Answer:

(yes or no)

IF YOU ANSWERED QUESTION 8 “YES”
ANSWER QUESTION 9. OTHERWISE
PROCEED TO QUESTION 10.
00235

goo4

ndants induce such
sivoo/os FH@S4 3:9 2paw-COO4%dlagoe Documenték 280-1 Filed: 02/05/10 Page 4 of 7 ig 005

9. Can injustice be avoided only by enforcing the McFarlane

defendants’ promise?

Answer:
‘(yes or no)

10. Did defendants accept and retain benefits from plaintiff
under circumstances where it would be inequitable to retain them

without paying plaintiff the value thereof?

Answer:

| (yes or no)
|~
| 11. Did plaintiff Gaiman accept and retain benefits from the

McFarlane defendants under circumstances where it would he
i inequitable to retain the benefit of them without paying defendant
j the value thereof.
i Answer:

(yes or no)
00236
oaos/os ‘faSE43P4RY-CNP43PKG0s Documenték 280-1 Filed: 02/05/10 Page 5 of 7 ig 006

“.
. —— Neal

12. Was defendants’ failure to identify plaintiff Gaiman as

a co-author of Spawn igsue 26, Spawn volume 6 or Pathway to

~——

Judgement a false description or representation of the origin of

the work?

woos eS

(yeas or no)

IF YOU ANSWERED QUESTION 12 “YES”
ANSWER QUESTION 13. OTHERWISE
PROCEED TO QUESTION 1¢.

13. Does plaintiff Gaiman believe that defendants’ failure to

identify him as a co-author of Spawn issue 26, Spawn volume 6 OT

Pathway to Judgement is likely to damage him?

Answer:
(yes or no)

14. Did plaintiff Gaiman congent in writing to the use of his

iographical information on Angela’s Hunt?

Answer: No

(yes or no)

name and b

Nic?
00237

—=s
(

=

o4/og/os PAP T43i92eAx000H BsrbosoeDocument@#k280-1 Filed: 02/05/10 Page 6 of 7 aoo7

.
5 +

15. Did plaintiff Gaiman make misrepresentations or omissions

of material fact to defendant concerning his DC Comics contract

during the negotiations of the 1997 contract?

Angwer: Mo

(yes or no)

IF YOU ANSWERED QUESTION 15 “YES”
ANSWER QUESTION 16. OTHERWISE
PROCEED NO FURTHER.

1g. Did plaintiff Gaiman make the misrepresentation knowing

‘it was untrue or recklessly without caring whether it was true or

untrua?

Answer:
(yes or no)

IF YOU ANSWERED QUESTION 16 “YES"
ANSWER QUESTION 17. OTHERWISE
PROCEED NO FURTHER.

17. Did plaintiff Gaiman make the misrepresentation with the

intent to deceive and to induce defendants to act on it?

Answer:
(yes or no)

IF YOU ANSWERED QUESTI ON 17 “YES”
ANSWER QUESTION 18. OTHERWISE
PROCEED NO FURTHER. 00238
=—=

Cyp: 4
nasog/oo THE ARCS PRO CANGSE-bouws —DOCUMISEH: 280-1 Filed: 02/05/10 Page 7 of 7

_  *
—

18. Did defendants believe such misrepresentation to be true

and justifiably rely upon it to their pecuniary damaga?

(

Answer: _
(yes or no)

3
Signed this BEE tay of October, 2002

Foreperson

0239
